Case 1:15-cv-02739-LAP Document 27-17 Filed 09/08/15 Page 1 of 19




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    Exhibit 16, Part 1
          Case 1:15-cv-02739-LAP Document 27-17 Filed 09/08/15 Page 2 of 19
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                  PROTECTED FROM DISCLOSURE BY APPLICABLE PRIVILEGES




                                Dated as of March 4, 2015




                                Claim Prosecution Agreement



                                          between




                        The Connterparty named in Annex I hereto




                                             and




                       Prospect Investments LLC, as Capital Provider
Case 1:15-cv-02739-LAP Document 27-17 Filed 09/08/15 Page 3 of 19




                                       CONTENTS


SECTION                                                                        PAGE


 1.   Interpretation                                                              2
      1.1    Definitions                                                          2
      1.2    Relationship of Parties                                              2
2.    Claim Pursuit                                                               2
      2.1    Initial Payment                                                      2
      2.2    No Assignment or Transfer of Claims                                  2
      2.3    Funding and Pursuit of Claims                                        2
3.    Claim Proceeds                                                              3
      3.1    Entitlements                                                         3
      3.2    Delivery and Distribution of Proceeds                                3
      3.3    Priority Right to Capital Provider's Entitlement                     4
      3.4    Capital Provider's Obligation to Fund                                4
4.    Covenants                                                                   5
      4.1    Covenants of Each Party                                              5
      4.2    Covenants of the Insolvency Administration on Behalf of the
             Counterparty                                                         5
      4.3    Covenants of the Capital Provider                                    6
5.    Representations and Warranties                                              7
      5.1    Representations and Warranties of Each Party                         7
      5.2    Representations and Warranties of the Capital Provider               8
      5.3    Representations and Warranties of the Insolvency Administration
             on Behalf of the Counterparty                                        8
6.    Confidentiality                                                             9
      6.1    Exclusive Ownership of Information by Disclosing Party               9
      6.2    Non-Disclosure of Information                                        9
      6.3    Confidentiality Procedures                                          I0
      6.4    Judicial and Official Disclosure Requests                           10
 7.   Legal Privilege                                                            10
            Case 1:15-cv-02739-LAP Document 27-17 Filed 09/08/15 Page 4 of 19
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                                                                                                                           l '',
                           7.1         Common Interest Privilege Applies                         \..y?,.„--s----
                                                                                                      - - _,. .„_ . f...--tsvp,;;
                                                                                                                      ,_
                                                                                                                       -,)
                           7.2         Information Subject to Privilege Protection                                  110
                           7.3   Information Subject to Work Product Protection                                     11
                  8.      Exculpation                                                                               11
                  9.      Limitations on Transfer, Successors and Assigns; Third Party
                          Beneficiaries                                                                             11
                  10.     Notices                                                                                   12
                          10.1         Effectiveness of Notices                                                     12
                          10.2         Change of Details                                                            12
                  11.     Amendments                                                                                12
                  12.     Entire Agreement                                                                          12
                  13.     Counterparts                                                                              13
                  14.     Survival of Obligations                                                                   13
              1 15.       No Waiver                                                                                 13
            /1
              ! 16.       Severability                                                                              13
                  17.     Expenses                                                                                  13
                  18.     Governing Law                                                                             14
                  19.     Dispute Resolution                                                                        14
                \ 20.     Language                                                                                  14




            1
   Case 1:15-cv-02739-LAP Document 27-17 Filed 09/08/15 Page 5 of 19




        CLAIM PROSECUTION AGREEMENT, dated as of March 4, 2015, ("Agreement"),
among each of PETERSEN ENERGIA INVERSORA, S.A.U. and PETERSEN ENERGIA, S.A.,
entities organized or formed under the laws of the jurisdictions identified in Annex I, which
entities, collectively and jointly and severally, form the "Counterparty"; PROSPECT
INVESTMENTS LLC, a limited liability company formed under the laws of the State of
Delaware, as the "Capital Provider"; and the INSOLVENCY ADMINISTRATION (as defined
in Exhibit A).

        WHEREAS, the Counterparty has entered into insolvency proceedings as a consequence
of the expropriation by Argentina of 51% of Repsol S.A.'s shareholding stake in YPF, S.A.;

        WHEREAS, due to the inability of the Counterparty and its creditors to reach agreement,
the insolvency proceedings have entered the liquidation phase;

        WHEREAS, the respective plans of liquidation contemplate the monetization of the
claims of the Counterparty arising from the aforesaid expropriation, principally by means of the
sale or assignment of such claims, and alternatively, in the event a sale or assignment shall not
prove practicable, by means of third party management and financing of such claims aimed at
demanding and collecting an economic recovery therefrom;

       WHEREAS, the sale or assignment of the claims has not proven practicable;

        WHEREAS, the Insolvency Administration, based in Spain, desires the professional
assistance and expertise of the Capital Provider both to finance and to manage the prosecution of
the claims in light of the insufficient financial resources of the insolvent Counterparty and the
lack of expertise of the Insolvency Administration with litigation in jurisdictions other than
Spain;

       WHEREAS, pursuant to the plans of liquidation approved by the Bankruptcy Court (as
defined in Exhibit A) and creditors, the Insolvency Administration has conducted a competitive
auction process among multiple bidders to manage and finance the claims, and the Capital
Provider is interested in proceeding to do so in accordance with the terms hereof;

        WHEREAS, pursuant to the process set forth in the liquidation plans and by the
Insolvency Administration, the Capital Provider was selected as the winning bidder to manage,
finance and bring about the monetization of the claims on behalf of the Counterparty,
considering the price of the Capital Provider's bid and the litigation and collection risk
associated with the claims;

       WHEREAS, the Bankruptcy Court and, through it, the Counterparty's creditors have
been kept duly informed of the progress of the competitive auction process; and

       WHEREAS, the Counterparty has considered and taken advice from outside counsel in
both Spain and the United States concerning the terms and economics of this Agreement, and has
concluded that they are fair and reasonable and in the best interest of the Counterparty.
          Case 1:15-cv-02739-LAP Document 27-17 Filed 09/08/15 Page 6 of 19
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                  NOW, THEREFORE, in consideration of the mutual agreements contained h"erem,,grict
           other good and valuable consideration, the receipt and sufficiency of which are hereby
           acknowledged, the parties hereto, intending to be legally bound, hereby agree as follows:

           1.     INTERPRETATION

           1.1    Definitions

           Certain capitalized terms used herein have the meanings assigned thereto in Exhibit A.
           Capitalized terms used but not otherwise defined in Exhibit A have the respective meanings
           assigned to such terms in the Agreement.

           1.2    Relationship of Parties

           (a)    Nothing in this Agreement shall give rise to or be construed to create a fiduciary, lawyer-
                  client, agency or other non-contractual relationship between the parties.

           (b)    This Agreement does not create any joint venture, partnership or any other type of
                  affiliation between the parties.

           2.     Cum PURSUIT

           2.1    Initial Payment

           The Capital Provider agrees to pay to the Counterparty Fifteen Million One Hundred One
           Thousand Euros (£15,101,000.00) (the "Initial Payment") upon the due execution and delivery
           of this Agreement, in consideration of the right to finance the Claims and to receive the Capital
           Provider's Entitlement (if any). The Initial Payment is non-refundable.

           2.2    No Assignment or Transfer of Claims

           The parties agree that nothing in this Agreement shall be interpreted to constitute an assignment
           or transfer by the Counterparty of the Claims, or any portion thereof, to the Capital Provider or
           any Affiliate thereof, and that no such assignment or transfer shall occur as a result of either
           party's performance of its obligations hereunder.

           2.3    Funding and Pursuit of Claims

           Subject to the terms and conditions of this Agreement, the Capital Provider will fund the pursuit
           of the Claims. With specific reference to the unique needs and characteristics of the Claims, the
           Counterparty, the Insolvency Administration and the process, all as outlined in the preamble to
           this Agreement, and without limiting the Capital Provider's obligations under Sections 4.3(b)
           and (c), the Counterparty hereby grants the Capital Provider the Irrevocable Powers of Attorney
           attached hereto as Annex III to enable the Capital Provider to manage the conduct of the Claims
           as set forth therein, at the Capital Provider's expense and in the exercise of its judgment and
           discretion, subject only to commercial reasonableness. The Capital Provider shall have the rights
           and authorities provided in the Irrevocable Powers of Attorney exclusively, and the Counterparty
      Case 1:15-cv-02739-LAP Document 27-17 Filed 09/08/15 Page 7 of 19




shall not take any actions in connection with the Claims absent the direction of the Capital
Provider and shall not take any actions in contravention of the intent of this Section.

3.      CLAIM PROCEEDS

3.1     Entitlements

Upon the occurrence of a Claim Resolution, the Counterparty shall receive thirty percent
(30.00%) of all Proceeds (all amounts to which the Counterparty is entitled, the "Counterparty's
Entitlement'). The Capital Provider shall receive all other Proceeds (the "Capital Provider's
Entitlement") as due and just consideration for the Capital Provider's funding of the Claims and
the payment of the Initial Payment.

3.2     Delivery and Distribution of Proceeds

(a)     Payment and Delivery of Proceeds in Cash or Other Instruments. The parties
        acknowledge and agree that all anticipated Proceeds in the form of cash, check or other
        instruments are to be paid initially to the Payment Agent, and each party shall take all
        steps reasonably necessary or appropriate to ensure the same occurs.

(b)     Other Proceeds.

           (i) Payment and Delivery. If anticipated Proceeds consist of property other than
               cash, check or other instruments (such Proceeds, "Non-Cash Proceeds"), such
               Non-Cash Proceeds shall be delivered to the Payment Agent unless the parties
               mutually agree, within a period of five (5) Business Days from the date they both
               become aware that such Non-Cash Proceeds are anticipated to be received (the
               "Non-Cash Proceeds Notice Date"), upon an alternate means of payment and
               delivery of such Non-Cash Proceeds.

          (ii) Valuation, Monetization and Distribution. The parties shall promptly endeavor in
               good faith to mutually agree upon the value of any such Non-Cash Proceeds and
               the appropriate means of monetization and distribution thereof. If, within a
               period of ten (10) Business Days from the Non-Cash Proceeds Notice Date, the
               parties fail to so agree, then the parties shall refer the matter to an appropriate
               expert appointed by the International Center for ADR of the International
               Chamber of Commerce (the "Expert') to determine such value and means. Once
               appointed, the Expert shall be mutually instructed by the parties to provide an
               opinion, within thirty (30) days of appointment, as to the value of the Non-Cash
               Proceeds and the recommended commercially reasonable means of monetization
               and distribution, provided that such distribution shall necessarily be in accordance
               with Section 3.1. Such opinion shall be final and binding upon the parties. The
               costs and expenses of any Expert shall be borne by the Capital Provider.

(c)     Proceeds Held in Trust. In the event any Proceeds are received by either party hereto or
        a third party other than the Payment Agent, such receiving party shall, or shall direct such
        third party to, (i) hold such Proceeds in trust for the . benefit of the other party;
        (ii) segregate such Proceeds from other funds and property of the receiving party; and




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          Case 1:15-cv-02739-LAP Document 27-17 Filed 09/08/15 Page 8 of 19
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                   (iii) forthwith pay such Proceeds, or the cash value realized therefrom, to the Payment
                   Agent in accordance with Section 3.1.

           (d)    Designation as Payment Agent. The Capital Provider shall use commercially reasonable
                  efforts to, as soon as possible after the date hereof, designate the Payment Agent and
                  secure agreement from the Person so designated to act as such, pursuant to the definition
                  of "Payment Agent" in Exhibit A. In the event a third party escrow agent is selected
                  pursuant to clause (ii) of such definition, the Counterparty shall use commercially
                  reasonable efforts to, as soon as possible after the Capital Provider notifies it of such
                  selection, review, approve and enter into an agreement with such agent and the Capital
                  Provider in accordance therewith.

           3.3    Priority Right to Capital Provider's Entitlement

           The Capital Provider's right to receive and retain the Capital Provider's Entitlement shall, as
           between the parties, rank pan passu with the Counterparty's right to receive and retain the
           Counterparty's Entitlement and otherwise shall take full and absolute priority over any payment
           right of any other creditor or other party. The Capital Provider's Entitlement shall be subject to
           no reduction or set-off on account of any obligations of the Counterparty to other creditors or any
           fees or expenses of the bankruptcy estate of the Counterparty or the Insolvency Administration
           (other than Litigation Costs), nor on account of any other Adverse Claim; provided that in no
           event shall the value of any settled Counterclaim be deemed a prohibited reduction or set-off
           hereunder, and the Capital Provider hereby waives any claim that the Capital Provider's
           Entitlement should be increased by the value, in whole or in part, of any settled Counterclaim.

           3.4    Capital Provider's Obligation to Fund

           In the event the Capital Provider ceases funding the Claims in breach of its obligations under
           Section 2.2 and fails to cure such breach within thirty (30) days of its receipt of written notice
           thereof from the Counterparty, the Capital Provider shall forfeit the Capital Provider's
           Entitlement and in lieu thereof shall be entitled to receive only reimbursement of the aggregate
           amount funded by it pursuant to Section 2.2 prior to the cessation of funding, which amount shall
           be payable only (i) upon the occurrence of a Claim Resolution in favor of the Counterparty, and
           (ii) on a pari passu basis with the Counterparty, from any proceeds actually received and retained
           by the Counterparty as a result of such Claim Resolution after payment of all of the
           Counterparty's expenses relating to the prosecution of the Claims and enforcement proceedings
           relating thereto, including any amounts payable to any third party that may have financed the
           prosecution of the Claims after the Capital Provider's cessation of funding. Notwithstanding the
           foregoing, however, if the Capital Provider informs the Counterparty that its cessation of funding is
           for reasonable strategic reasons that reasonably would not be anticipated to impair the ultimate
           recovery for the Claims and that the Capital Provider remains committed to the pursuit of the Claims,
           no breach shall be deemed to have occurred if counsel informs the Counterparty of the
           reasonableness of Capital Provider's approach.
      Case 1:15-cv-02739-LAP Document 27-17 Filed 09/08/15 Page 9 of 19




4.      COVENANTS

4.1     Covenants of Each Party

Each party agrees with the other party that, so long as such party has or may have any obligation
under this Agreement to the other party:

(a)     It shall preserve and maintain its corporate existence. In the case of Counterparty, such
        obligation shall include that Counterparty, represented by the Insolvency Admiaistration,
        shall not request the conclusion of the Insolvency Proceedings of Counterparty,
        especially for inexistence of the estate or any assets, and, as applicable, shall diligently
        oppose any efforts to achieve such conclusion, for any reason.

(b)     It shall use all reasonable efforts to maintain in full force and effect all consents,
        approvals, actions, authorizations, exceptions, notices, filings and registrations of or with
        any Governmental Authority that are required to be obtained by it with respect to this
        Agreement or any Credit Support Document to which it is a party and shall use all
        reasonable efforts to obtain any that may become necessary in the future.

(c)     It shall comply in all material respects with all applicable laws and orders of any
        Governmental Authority to which it may be subject if failure so to comply could
        reasonably be expected, either individually or in the aggregate, to (i) impair its ability to
        perform any of its obligations under this Agreement or any Credit Support Document to
        which it is a party, (ii) impair the rights or remedies available to the other party under this
        Agreement or any Credit Support Document, or (iii) have a material adverse effect on the
        Claims or the value or collectability thereof.

(d)     Each party shall, from time to time at the request of the other party, without any
        additional consideration, furnish the other party such further information, consents
        or assurances, execute and deliver such additional documents, instruments and
        conveyances, and take such other actions and do such other things, as may be necessary
        or appropriate to carry out the provisions of this Agreement and any Credit Support
        Document and to give effect to the transactions contemplated hereby and thereby. The
        foregoing may include but shall not be limited to entering into any additional pledge or
        security agreements and/or making, registering or authorizing deeds or security filings in
        relevant jurisdictions, as necessary to give effect to Section 3.3.

4.2     Covenants of the Insolvency Ad ministration on Behalf of the Counterparty

The Insolvency Administration, on behalf of the Counterparty, agrees with the Capital Provider
that:

(a)     The Insolvency Administration shall in a timely manner cooperate with the Capital
        Provider in all matters pertaining to the Claims, including but not limited to (i) producing
        all relevant documents and information in its possession or control; and (ii) cooperating,
        and using commercially reasonable efforts to secure the cooperation of all appropriate
        Representatives of the Counterparty, in all matters pertaining to the Claims, which
        cooperation may include producing necessary documents; signing, executing and




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          Case 1:15-cv-02739-LAP Document 27-17 Filed 09/08/15 Page 10 of 19
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                 granting additional agreements and powers of attorney; submitting to examination by
                 counsel for the preparation of written statements and subscribing to the same under oath
                 if required; consulting with counsel and their designees as they require for purposes of
                 prosecuting the Claims and enforcing any award; and appearing at any hearings in
                 connection with such statements or the Claims generally; with any reasonable,
                 documented expenses of the Insolvency Administration (including reasonable attorneys'
                 fees) incurred in the performance of all such cooperation activities described in the
                 foregoing clauses (i) and (ii) being paid by the Capital Provider (collectively,
                 "Cooperation Costs").

           (b)   The Counterparty shall not do anything to prejudice any benefits, rights or causes of
                 action sought or advanced in connection with, or the general pursuit of, the Claims.

           (c)   Other than pursuant to any Credit Support Document to which the Counterparty is a
                 party, the Counterparty shall not dispose of, transfer, encumber or assign, or permit to
                 exist (without objection) any Adverse Claim with respect to, all or any portion of the
                 Claims (or any interest therein) or any Proceeds thereof (or any right to such Proceeds),
                 whether by way of security or otherwise.

           (d)   The Counterparty shall not set off or agree to set off any amounts against any Claims.

           (e)   The Counterparty shall not institute any separate action, suit or arbitration against any
                 Opponent or any Affiliates of any Opponent prior to a Claim Resolution.

           4.3   Covenants of the Capital Provider

           (a)   The Capital Provider shall use commercially reasonable efforts to, at its own expense, (i)
                 diligently prosecute the Claims and (ii) seek to enforce any favorable judgment, award or
                 settlement arising therefrom.

           (b)   The Capital Provider shall keep the Counterparty reasonably informed of the status of the
                 Claims by means of (i) providing the Counterparty quarterly written reports of all
                 material developments in the Claims; (ii) promptly providing to the Counterparty copies
                 of any pleadings, court filings or similar documents; (iii) promptly notifying the
                 Counterparty of any settlement offer; and (iv) responding promptly to any request by the
                 Counterparty for information relating to the Claims.

           (c)   In recognition of the Insolvency Administration's interest, on behalf of the Counterparty,
                 in the protection of the Counterparty's Entitlement, and the value that its cooperation
                 hereunder may bring to the Capital Provider in the prosecution of the Claims, the Capital
                 Provider shall give reasonable, good faith consideration to any recommendations of the
                 Counterparty regarding the Capital Provider's conduct of the Claims and shall provide a
                 reasoned response thereto. Given the Capital Provider's greater knowledge and
                 experience in the field, however, and given the alignment of interests between the Capital
                 Provider and the Counterparty, the Counterparty shall reasonably defer to the Capital
                 Provider in selecting the course of action that is best for the Capital Provider and the
                 Counterparty alike.



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  Case 1:15-cv-02739-LAP Document 27-17 Filed 09/08/15 Page 11 of 19




(d)    If the Counterparty raises a question about the Capital Provider's decision to enter into,
       or agree to enter into, any settlement of the Claims, the Capital Provider shall cause the
       lawyers appointed by it to prosecute the Claims on behalf of the Counterparty to provide
       to the Counterparty an explanation, based on all relevant facts and circumstances and
       including consideration of prior settlements of similar matters, of why such settlement is
       reasonable.

5.     REPRESENTATIONS AND WARRANTIES

5.1    Representations and Warranties of Each Party

Each party represents and warrants to the other as follows:

(a)    It is duly organized or formed and validly existing under the laws of the jurisdiction of its
       organization or formation and, if relevant under such laws, in good standing.

(b)    It has the power to execute this Agreement and any other documentation relating to this
       Agreement to which it is a party, to deliver this Agreement and any other documentation
       relating to this Agreement that it is required by this Agreement to deliver and to perform
       its obligations under this Agreement and any obligations it has under any Credit Support
       Document to which it is a party and has taken all necessary action to authorize such
       execution, delivery and performance.

(c)    Such execution, delivery and performance do not violate or conflict with any law
       applicable to it, any provision of its constitutional documents, any order or judgment of
       the Bankruptcy Court (including the liquidation plans of the Counterparty), any other
       court or other Governmental Authority applicable to it or any of its assets or any
       contractual restriction binding on or affecting it or any of its assets.

(d)    All consents, approvals, actions, authorizations, exceptions, notices, filings and
       registrations that are required to have been obtained by it with respect to this Agreement
       or any Credit Support Document to which it is a party (including, with respect to the
       Counterparty, all consents, approvals, authorizations, etc. of the Bankruptcy Court) have
       been obtained and are in full force and effect and all conditions of any such consents,
       approvals, actions, authorizations, exceptions, notices, filings and registrations have been
       complied with.

(e)    This Agreement and any Credit Support Document to which it is a party constitute its
       legal, valid and binding obligations, enforceable in accordance with their respective terms
       (subject to applicable bankruptcy, reorganization, insolvency, moratorium or similar laws
       affecting creditors' rights generally and subject, as to enforceability, to equitable
       principles of general application (regardless of whether enforcement is sought in a
       proceeding in equity or at law)).

(1)    It is acting for its own account, and it has made its own independent decisions to enter
       into this Agreement and the transactions contemplated hereby and as to whether this
       Agreement and such transactions appropriate or proper for it based upon its own
       judgment and upon advice from such advisers as it has deemed necessary.
          Case 1:15-cv-02739-LAP Document 27-17 Filed 09/08/15 Page 12 of 19
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           (g)    No communication (written or oral) received from the other party shall be deemed to be
                  an assurance or guarantee as to the expected results of this Agreement or any of the
                  transactions contemplated hereby.

           (h)    It is capable of assessing the merits of and understanding (on its own behalf or through
                  independent professional legal advice), and understands and accepts, the terms,
                  conditions and risks of this Agreement and the transactions contemplated hereby.

           5.2    Representations and Warranties of the Capital Provider

           The Capital Provider represents and warrants to the Counterparty as follows:

           (a)    The Capital Provider knows and accepts all terms of the liquidation plan of the
                  Counterparty, and the financing by the Capital Provider hereunder is provided with no
                  guarantee that the Claims will be successful or that any Proceeds will be received.

           (b)    The Capital Provider is financing the Claims at its own risk and peril, having performed
                  all analysis and all legal, economic, tax, financial or other study of the Claims, the rights
                  arising therefrom and the feasibility thereof that the Capital Provider has considered
                  necessary.

           (c)    The Capital Provider has analyzed to its satisfaction the impact of the financing by it
                  hereunder on the Claims, on the rights arising therefrom and on the operation of the
                  Counterparty.

           (d)    The Capital Provider has and shall have sufficient funds to pay the Initial Payment and all
                  amounts required to fund the Claims in accordance with Section 2.2.

           5.3   Representations and Warranties of the Insolvency Administration on Behalf of the
           Counterparty

           The Insolvency Administration, on behalf of the Counterparty, represents and warrants to the
           Capital Provider as follows:

           (a)   The Counterparty is the sole owner of, and has good title to, the Claims, and to the
                 Insolvency Administration's best knowledge and subject to the Insolvency Proceedings,
                 such ownership and title are free and clear of any Adverse Claim (other than pursuant to
                 any Credit Support Document to which the Counterparty is a party).

           (b)   Other than pursuant to any Credit Support Document to which the Counterparty is a
                 party, it has not disposed of, transferred, encumbered or assigned all or any portion of the
                 Claims (or any interest therein) or any Proceeds thereof, whether by way of security or
                 otherwise.

           (c)   None of the Insolvency Administration or its Representatives, nor to its best knowledge
                 the Counterparty, its Affiliates or their respective Representatives, has waived, settled or
                 otherwise compromised the Claims, or agreed to do any of the foregoing.
 Case 1:15-cv-02739-LAP Document 27-17 Filed 09/08/15 Page 13 of 19




(d)      The Insolvency Administration has not set off or agreed to set off any amounts against
         the Claims, and to its best knowledge there exist no facts or circumstances giving rise to
         any (1) meritorious claims of rights of set-off or similar rights against the Counterparty
         that could permit any set-off against the Claims or (ii) Counterclaims.

(e)      The Insolvency Administration has, by virtue of the plans of liquidation approved by the
         Bankruptcy Court in the Insolvency Proceedings, full power and authority to bring the
         Claims.

(f)      Any security interest in the Claims, any proceeds thereof and/or related collateral granted
         by the Counterparty to the Capital Provider pursuant to any Credit Support Document to
         which the Counterparty is a party (and without limiting any representation or warranty
         made by the Counterparty in such Credit Support Document) is a legal, validly created,
         perfected, first priority security interest, subject to no other Adverse Claim.

6.       CONFIDENTIALITY

6.1      Exclusive Ownership of Information by Disclosing Party

Each recipient of Confidential Information hereunder (the "Recipient") agrees that all
Confidential Information provided to it is and shall remain at all times the exclusive property of
and owned by the other party (the "Disclosing Party"), or any its Affiliates or contract
counterparties, as the case may be, and that the Recipient's use or awareness of such Confidential
Information shall create no rights, at law or in equity, in the Recipient in or to such information,
or any aspect or embodiment thereof. Neither the execution of this Agreement, nor the
furnishing of any Confidential Information hereunder, shall be construed as granting, whether
expressly or by implication, estoppel or otherwise, any license to distribute or title to any patent,
trademark, copyright, service mark, business and trade secret or other proprietary right to such
Confidential Information, or to use such Confidential Information for any purpose other than as
specified in this Agreement or to constitute a waiver of any attorney-client privilege or work
product protection.

6.2      Non-Disclosure of Information

The Recipient shall not for any reason, during the term of this Agreement and for a period of five
years following termination or expiration of this Agreement, disclose, use, reveal, report,
publish, transfer, or make available, directly or indirectly, to any person, business concern, or
other entity other than its Representatives authorized pursuant to Section 6.3, any Confidential
Information or Common Interest Material provided to it. Moreover, notwithstanding any other
provision of this Agreement, at no time shall the Recipient knowingly disclose any Confidential
Information or Common Interest Material to the Opponent or any other adversary, potential
adversary or conduit to an adversary of the Counterparty, and the Recipient shall treat such
materials in a mariner that does not substantially increase the likelihood that any of the foregoing
shall come into possession of it.




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          Case 1:15-cv-02739-LAP Document 27-17 Filed 09/08/15 Page 14 of 19




08/2014

           6.3    Confidentiality Procedures

           The Recipient shall ensure that the Confidential Information it receives is not divulged or
           disclosed to any person except its Representatives who have a "need to know" such information
           in order to perform their job responsibilities. The Recipient shall ensure its Representatives'
           compliance with Section 6.2 and all other provisions of this Agreement and shall be solely
           responsible for any failure by it or its Representatives to so comply.

           6.4    Judicial and Official Disclosure Requests

          Notwithstanding any provision of this Section 6.4 that follows this sentence, the parties
          acknowledge and agree that this Agreement, any Credit Support Document and any other
          agreements, filings or registrations entered into or made in direct connection herewith shall be
          disclosed to the Bankruptcy Court. Other than in the foregoing situation, if a Recipient is
          requested in any judicial, arbitral or administrative proceeding or by any Governmental
          Authority to disclose any Confidential Information, then such Recipient shall provide the
          Disclosing Party with written notice of such request prior to disclosing such Confidential
          Information, sufficiently in advance so that the Disclosing Party may contest the requested
          disclosure. If the Disclosing Party elects to contest the requested disclosure, the Recipient shall
          not disclose any Confidential Information until such time as a final, non-appealable or non-
          stayed order has been entered compelling such disclosure, and the Recipient shall cooperate with
          the Disclosing Party in its contest. Moreover, if any such request for the disclosure of
          Confidential Information seeks disclosure of this Agreement, any terms hereof, the identity of
          the Capital Provider or any communications between the Counterparty and the Capital Provider,
          then the Recipient shall, at the Disclosing Party's expense, object to such disclosure on all
          applicable bases, including work product doctrine, common interest privilege and relevance, as
          applicable. Should the Disclosing Party not contest the requested disclosure, the Recipient shall
          not have any obligation to do so; the Recipient may, however, contest the requested disclosure
          even if the Disclosing Party elects not to do so.

          7.     LEGAL PRIVILEGE

           7.1   Common Interest Privilege Applies

          The parties agree that the Counterparty, the Capital Provider and the Capital Provider's Affiliates
          have a "common legal interest" in the Claims and their successful prosecution, this Agreement,
          and any discussion, evaluation and negotiation and other communications and exchanges of
          information relating thereto.

          7.2    Information Subject to Privilege Protection

          Notwithstanding any other contrary provision of this Agreement, the parties agree that any
          Common Interest Material shall at all times remain subject to all applicable Privileges, it being
          the express intent of the parties and their Affiliates to preserve intact to the fullest extent
          applicable, and not to waive, by virtue of this Agreement or otherwise, in whole or in part, any
          and all Privileges to which Common Interest Material, or any part of it, is, may be or may in the
          future become subject. It is the good faith belief of the Disclosing Party that Privileges,



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 Case 1:15-cv-02739-LAP Document 27-17 Filed 09/08/15 Page 15 of 19




including the common interest privilege, attach to the Common Interest Material and disclosure
of Common Interest Material is made in reliance on that good faith belief.

73      Information Subject to Work Product Protection

The parties agree that without limiting the foregoing, any materials prepared in anticipation of
litigation by or for the Counterparty, the Capital Provider, any of their respective Affiliates or
any of their respective Representatives shall remain subject to work product protection. The
Capital Provider and its Affiliates shall be considered "representatives" of the Counterparty
given that the Counterparty requested assistance and advice from them regarding the plausibility
of the Counterparty's obtaining external capital to finance its legal claims. Moreover, the parties
agree that information shared between the Counterparty and the Capital Provider is shared
pursuant to a common interest and non-disclosure agreement, and the exchange of such
information does not increase the risk of disclosure, inadvertent or otherwise, to the Opponent or
any other adversary and does not lessen or waive the protection secured under work product
doctrine.

8.     EXCULPATION

The Capital Provider hereby waives any and all claims against the Counterparty, the Insolvency
Administration and their respective legal advisers and affiliates, including their directors,
officers, employees, partners and/or shareholders, to the extent such claims arise out of (i) the
failure of the Claims or the insufficiency of Proceeds received therefrom, (ii) the inadequacy of
the Capital Provider's analysis of the Claims, the rights arising therefrom and/or the feasibility
thereof, including any and all legal, economic, tax, financial and other study thereof performed
by the Capital Provider in connection therewith, or (iii) the impact of the financing by the Capital
Provider hereunder on the Claims, the rights arising therefrom or the operation of the
Counterparty, whether as a result of the financing itself or the application of a legal rule.

9.     LIMITATIONS ON TRANSFER, SUCCESSORS AND           ASSIGNS; THIRD PARTY BENEFICIARIES

(a)    Neither this Agreement nor any right or obligation in or under this Agreement may be
       transferred (whether by way of security or otherwise) or delegated by either party without
       the prior written consent of the other party (which consent, in the case of the
       Counterparty, shall include the consent of the Insolvency Administration), such consent
       not to be unreasonably withheld. Notwithstanding the foregoing, the Counterparty may,
       without the consent of the Capital Provider, transfer the right to receive the
       Counterparty's Entitlement to a third party, provided that (i) the lawyers appointed by the
       Capital Provider to prosecute the Claims on behalf of the Counterparty have advised in
       writing that such transfer shall not impair the prosecution of the Claims in any way and
       Lii) such transfer shall not result in a breach by the Counterparty of its covenant under
       Section 4.2(c). Any purported transfer that is not in compliance with this provision shall
       be void.

(b)    This Agreement shall be binding upon and inure to the benefit of the parties hereto and
       their respective successors and permitted assigns.

(c)    No Person other than the parties hereto shall have any rights under this Agreement.




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          Case 1:15-cv-02739-LAP Document 27-17 Filed 09/08/15 Page 16 of 19
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           10.    NoncE,s

           10.1 Effectiveness of Notices

           Any notice or other communication in respect of this Agreement shall be in writing and may be
           given in any manner described below to the address or number provided for the recipient in
           Annex I and shall be deemed effective as indicated:

           (a)    if in writing and delivered in person or by courier, on the date it is delivered;

           (b)    if sent by facsimile transmission, on the date it is received by a responsible employee of
                  the recipient in legible form (it being agreed that the burden of proving receipt shall be on
                  the sender and shall not be met by a transmission report generated by the sender's
                  facsimile machine);

           (c)    if sent by certified or registered mail (airmail, if overseas) or the equivalent (return
                  receipt requested), on the date it is delivered or its delivery is attempted; or

          (d)     if sent by e-mail, on the date it is delivered (it being agreed that the burden of proving
                  receipt shall be on the sender and shall not be met absent a return e-mail message
                  indicating that such message has been opened by the recipient or by other confirmation of
                  receipt from the recipient),

          unless the date of that delivery (or attempted delivery) or that receipt, as applicable, is not a
          Business Day or that communication is delivered (or attempted) or received, as applicable, after
          the close of business on a Business Day, in which case that communication shall be deemed
          given and effective on the first following day that is a Business Day. Notices to the Counterparty
          shall be copied to the Nominated Lawyers, and the time of effectiveness of each such notice shall
          be the effective time of delivery to either the Counterparty or the Nominated Lawyers, whichever
          occurs earlier.

           10.2   Change of Details

          Either party may by notice to the other in accordance with Section 10.1 change the address,
          facsimile number or e-mail details at which notices or other communications are to be given to it.

           11.    AMENDMENTS

          No amendment, modification or waiver in respect of this Agreement shall be effective unless in
          writing (including a writing evidenced by a facsimile transmission) and executed by each of the
          parties.

          12.     ENTIRE AGREEMENT

          This Agreement and the Credit Support Documents constitute the entire agreement and
          understanding of the parties with respect to their subject matter and supersede all oral
          communication and prior writings with respect thereto.




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 Case 1:15-cv-02739-LAP Document 27-17 Filed 09/08/15 Page 17 of 19




13.    CO UNTERPARTS

This Agreement (and each amendment, modification and waiver in respect of it) may be
executed and delivered in counterparts (including by facsimile transmission and by electronic
messaging system), each of which shall be deemed an original.

14.    SURVIVAL OF OBLIGATIONS

The rights and obligations of the parties under Sections 3, 6, 7, 8, 9(b), 9(c) and 12 through 20
shall survive a Claim Resolution or the termination or expiration hereof.

15.    No WAIVER

A failure or delay in exercising any right, power or privilege in respect of this Agreement shall
not be presumed to operate as a waiver, and a single or partial exercise of any right, power or
privilege shall not be presumed to preclude any subsequent or further exercise, of that right,
power or privilege or the exercise of any other right, power or privilege.

16.    SEVERABILITY

If any term or provision of this Agreement is held to be unenforceable, invalid or illegal (in
whole or in part) for any reason (in any relevant jurisdiction), the remaining terms and
provisions, modified by the deletion of the unenforceable, invalid or illegal portion, shall
continue in full force and effect, and such unenforceability, invalidity, or illegality shall not
otherwise affect the enforceability, validity or legality of the remaining terms and provisions.

17.    EXPENSES

(a)    The Capital Provider shall bear all costs and expenses incurred in the conduct of the
       Claims, including all Cooperation Costs and any costs and expenses incurred in
       defending any Counterclaims, provided the Claims continue to be prosecuted pursuant to
       Section 4.3(a), and/or Attachment Proceedings (collectively, "Litigation Costs").

(b)    The Capital Provider shall fully indemnify, defend and hold harmless the Insolvency
       Administration from and against any and all losses, damages, liabilities, costs, or
       expenses incurred in connection with its performance of its obligations under this
       Agreement, including any adverse costs awards to the extent confirmed by a valid court
       judgment as against the Insolvency Administration; except in each case to the extent that
       such losses, damages, liabilities, costs or expenses result from the gross negligence or
       willful misconduct of the Insolvency Administration.

(c)    Each party hereto shall bear its own (including, in the case of the Counterparty, the
       Insolvency Administration's) expenses in connection with the negotiation, execution,
       delivery and performance of this Agreement and any Credit Support Document. For the
       avoidance of doubt, the Insolvency Administration shall bear all of its own costs and
       expenses in respect of the administration of the bankruptcy estate of the Counterparty,
       except for Litigation Costs.




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          Case 1:15-cv-02739-LAP Document 27-17 Filed 09/08/15 Page 18 of 19


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           10.    GOVERNING LAW

           This Agreement shall be construed in accordance with, and this Agreement and all matters
           arising out of or relating in any way whatsoever to this Agreement (whether in contract, tort or
           otherwise) shall be governed by, the law of Spain.

           19.    DISPUTE RESOLUTION

          All disputes arising out of or in connection with this Agreement shall, to the fullest extent legally
          permissible, be finally settled under the Rules of Arbitration of the International Chamber of
          Commerce by three arbitrators appointed in accordance with such Rules, whereby each party
          hereto shall nominate one arbitrator for confirmation by the International Court of Arbitration
          (the "Court'). The third arbitrator, who shall act as president of the arbitral tribunal, shall be
          jointly nominated by the other two arbitrators within 30 days of the confirmation of the second
          arbitrator. If the president of the arbitral tribunal is not nominated within this time period, the
          Court shall appoint such arbitrator. The language to be used in the arbitration shall be English.
          The place of arbitration shall be Madrid, Spain. If it is not legally permissible to resolve a
          dispute by arbitration in accordance with the foregoing, the parties, waiving any other alternate
          forum to which they may be entitled, expressly and irrevocably agree to submit the resolution of
          such dispute to the jurisdiction of the courts of the city of Madrid (Spain).

          20.     LANGUAGE

          This Agreement is executed in both English and Spanish. However, in the event of any
          discrepancy between the two versions of the Agreement, the English version shall prevail.




                                   [Remainder of this page intentionally left blank]




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Case 1:15-cv-02739-LAP Document 27-17 Filed 09/08/15 Page 19 of 19




                                               Signature page to Claim Prosecution Aereement




       IN WITNESS WHEREOF, the parties have executed and delivered this Claim
Prosecution Agreement as of the date first written above.

Counterparty:

PETERSEN ENERGIA INVERSORA, S.A.U.

By:   THE INSOLVENCY ADMINISTRATION
      WITH LIQUIDATION FUNCTIONS




PETERSEN ENERGIA, S.A.

By:   THE INSOLVENCY ADMINISTRATION
      WITH LIQUIDATION FUNCTIONS




Capital Provider:

PROSPECT INVESTMENTS LLC/000,/



By.
                         ter Mendieta Grande
      itle: Authoriz   Signatory



Insolvency Administration:

THE INSOLVENCY ADMINISTRATION
WITH LIQUIDATION FUNCTIONS


By:




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